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                                             U.S. Department of Justice

                                                         United States Attorney
                                                         Southern District of New York

                                                         The Silvio J. Mollo Building
                                                         One Saint Andrew’s Plaza
                                                         New York, New York 10007


                                                         July 19, 2020
    BY ECF AND EMAIL
    The Honorable Lorna G. Schofield
    United States District Court
    Southern District of New York
    40 Foley Square
    New York, New York 10007

                      Re: United States v. Sohrab Sharma, S3 18 Cr. 340 (LGS)

    Dear Judge Schofield:

            The Government and counsel for defendant Sohrab Sharma, a/k/a “Sam Sharma,” with his
    consent, respectfully submit this letter to jointly request that this Court accept the guilty plea
    entered by him on July 17, 2020 before Magistrate Judge Robert W. Lehrburger. Attached for the
    Court’s consideration are: (1) a copy of the parties’ plea agreement; (2) a copy of the superseding
    Information; (3) a copy of the transcript of the plea proceeding; and (4) a proposed Order accepting
    Sharma’s plea. In addition, the parties respectfully request that the Court set a date for the
    defendant’s sentencing and direct the Probation Department to prepare a Presentence Investiga tio n
    Report.

                                                  Respectfully submitted,

                                                  ILAN T. GRAFF
                                                  Attorney for the United States
                                                  Acting Under 28 U.S.C. § 515

                                              by: _____/s/ Negar Tekeei_____________________
                                                  Samson Enzer / Negar Tekeei / Daniel Loss
                                                  Assistant United States Attorneys
                                                  (212) 637-2342 / -2482 / -6527

    cc: Counsel of Record (via ECF)
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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    ---------------------------------x
    UNITED STATES OF AMERICA         :
                                     :                           ORDER
              - v. -                 :
                                     :                           S3 18 Cr. 340 (LGS)
    SOHRAB SHARMA,                   :
                                     :
                        Defendant.   :
                                     :
    ---------------------------------x

             WHEREAS, with defendant Sohrab Sharma’s consent, his guilty plea allocution was made

    before a United States Magistrate Judge on July 17, 2020;

             WHEREAS, a transcript of the allocution was made and thereafter was transmitted to the

    District Court; and

             WHEREAS, upon review of that transcript, this Court has determined that defendant Sharma

    entered the guilty plea knowingly and voluntarily and that there was a sufficient factual basis for the

    guilty plea;

             IT IS HEREBY ORDERED that defendant Sharma’s guilty plea is accepted.

    SO ORDERED:

    Dated:          New York, New York
                    July ___, 2020


                                              ______________________________________
                                              THE HONORABLE LORNA G. SCHOFIELD
                                              UNITED STATES DISTRICT JUDGE
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            Apart from any written Proffer Agreements that may have been entered into between this
    Office and defendant, this Agreement supersedes any piior illlderstandin gs, promises, or
    conditions between this Office and the defendant. No additional illlderstandings, promises, or
    conditions have been entered into other than those set forth in this Agreement, and none will be
    entered into unless in wiiting and signed by all parties.

                                                Very truly yours,

                                                ILAN T. GRAFF
                                                Attorney for the United States
                                                Acting Under 28 U.S.C. § 515


                                        By:
                                                Samson Enz.er / N egar Tekeei / Daniel Loss
                                                Assistant United States Attorneys
                                                (212) 637-2342 / -2482 I -6527

                                                APPROVED:



                                                Damian Williams
                                                Chie:( Securities and Commodities Fraud Unit


    AGREED AND CONSENTED TO:




    so                                                                rlATE
    Defendant




                              q.
                   '*"-·'-u,v...ER,
                            Esq.
    Attorneys or ohrab Sharma




    2019.07.08
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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - X
   UNITED STATES OF AMERICA      :            SUPERSEDING INFORMATION
                                 :
             - v. -              :
                                 :            S3 18 Cr. 340 (LGS)
   SOHRAB SHARMA,                :
             a/k/a “Sam Sharma,” :
                                 :
                  Defendant.     :
                                 :
   - - - - - - - - - - - - - - - X

                                COUNT ONE
        (Conspiracy to Commit Securities Fraud as to Centra Tech)

         The Attorney for the United States, acting under authority

   conferred by 28 U.S.C. § 515, charges:

                                     Background

         1.    At all times relevant to this Information, Centra Tech,

   Inc. (“Centra Tech”) was a company headquartered in Miami Beach,

   Florida, that purported to offer various cryptocurrency-related

   financial products.        For example, Centra Tech claimed to have a

   cryptocurrency       debit    card    that     allowed     users    to    spend

   cryptocurrencies such as Bitcoin and Ether to make purchases in

   real-time at various stores and other establishments that were

   part of the networks of merchant locations that accept Visa-payment

   cards and Mastercard-payment cards.

         2.    SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant, and

   co-conspirators not named as defendants herein (“CC-1,” and “CC-

   2,” respectively), founded Centra Tech in or about July 2017.
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         3.     At various times relevant to this Information, SOHRAB

   SHARMA, a/k/a “Sam Sharma,” the defendant, served multiple roles

   at Centra Tech, including as Centra Tech’s President and Chief

   Technology Officer until approximately late October 2017, and

   Director of Centra Tech.

         4.     From approximately in or about July 2017 through in or

   about    October     2017,    SOHRAB    SHARMA,    a/k/a    “Sam     Sharma,”   the

   defendant, as well as CC-1 and CC-2, sought to raise funds for

   Centra Tech through, among other means, an “initial coin offering”

   (the “ICO”) in which they solicited members of the investing public

   to buy unregistered securities, in the form of digital tokens that

   were issued by Centra Tech (“Centra tokens” or “CTR tokens”).                    At

   various times during and after the ICO, Centra tokens traded under

   the symbol “CTR” on a secondary cryptocurrency exchange called

   “Ether Delta” (the “Ether Delta Exchange”), which was based in New

   York, New York.

         5.     From approximately on or about July 30, 2017 through in

   or   about   April    2018,    SOHRAB    SHARMA,   a/k/a    “Sam Sharma,”       the

   defendant, as well as CC-1 and CC-2, engaged in a scheme to defraud

   investors      into     buying         CTR   tokens        through     fraudulent

   misrepresentations and omissions.            Through this fraudulent scheme,

   SHARMA, CC-1 and CC-2 solicited digital funds worth more than $25

   million from investors who purchased CTR tokens issued by Centra

   Tech.

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         6.     For example, in soliciting investments in Centra Tech,

   SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant, as well as CC-1

   and CC-2, made and caused Centra Tech to make the following

   fraudulent misrepresentations and omissions, among others:

                a.     SHARMA, CC-1 and CC-2 claimed to investors that

   Centra     Tech   had   partnerships    with    Bancorp      Incorporated,   Visa

   Incorporated, and Mastercard Incorporated to issue Centra Tech

   debit cards that would enable users to spend cryptocurrencies to

   make purchases in-real time at establishments that were part of

   the networks of merchant locations that accept Visa-payment cards

   and Mastercard-payment cards.           In fact, as SHARMA, CC-1 and CC-2

   well knew, Centra Tech had no such partnerships with Bancorp, Visa

   or Mastercard.

                b.     SHARMA, CC-1 and CC-2 claimed to investors that

   Centra     Tech’s    executive   team       included   two    purported   senior

   executives named “Michael Edwards” and “Jessica Robinson” who had

   impressive work histories and academic credentials.                 In fact, as

   SHARMA, CC-1 and CC-2 well knew, neither “Michael Edwards” nor

   “Jessica Robinson” was a real person.

                c.     SHARMA, CC-1 and CC-2 claimed to investors that

   Centra Tech held money transmitter and other relevant licenses in

   38 states.        In fact, as SHARMA, CC-1 and CC-2 well knew, Centra

   Tech did not have such licenses in all or nearly all of those

   states.

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                              Statutory Allegations

         7.    From at least in or about July 2017, up to and including

   in or about April 2018, in the Southern District of New York and

   elsewhere, SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant, and

   others known and unknown, willfully and knowingly did combine,

   conspire, confederate, and agree together and with each other to

   commit an offense against the United States, to wit, securities

   fraud, in violation of Title 15, United States Code, Sections

   78j(b) and 78ff, and Title 17, Code of Federal Regulations, Section

   240.10b-5.

         8.    It was a part and an object of the conspiracy that SOHRAB

   SHARMA, a/k/a “Sam Sharma,” the defendant, and others known and

   unknown, willfully and knowingly, directly and indirectly, by use

   of the means and instrumentalities of interstate commerce and of

   the mails, and of the facilities of national securities exchanges,

   would and did use and employ manipulative and deceptive devices

   and contrivances in connection with the purchase and sale of

   securities, in violation of Title 15, United States Code, Sections

   78j(b) and 78ff and Title 17, Code of Federal Regulations, Section

   240.10b-5, by (a) employing devices, schemes, and artifices to

   defraud; (b) making untrue statements of material fact and omitting

   to state material facts necessary in order to make the statements

   made, in the light of the circumstances under which they were made,

   not misleading; and (c) engaging in acts, practices, and courses

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   of business which operated and would operate as a fraud and deceit

   upon persons.

                                     Overt Acts

         9.    In furtherance      of the conspiracy        and to effect its

   illegal object, SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant,

   as well as CC-1 and CC-2, in addition to others known and unknown,

   committed the following overt acts, among others, in the Southern

   District of New York and elsewhere:

               a.     In   approximately       July and   August   2017,   SHARMA,

   CC-1 and CC-2 caused Centra Tech to publish white papers on the

   internet containing fraudulent misrepresentations and omissions to

   deceive investors into buying CTR tokens.

               b.     Between on or about July 30, 2017 and on or about

   September 26, 2017, SHARMA, CC-1 and CC-2 obtained funds for the

   purchase of CTR tokens from at least five ICO investors who resided

   in New York, New York.

               c.     Between in or about July 2017 and in or about

   October 2017, SHARMA, CC-1 and CC-2 used funds raised from Centra

   Tech investors to purchase CTR tokens traded on the Ether Delta

   Exchange based in New York, New York at above-market prices for

   the purpose of artificially inflating the publicly quoted market

   price of CTR tokens.

               d.     In or about November 2017, CC-1 and others attended

   a blockchain technology conference in New York, New York on behalf

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   of Centra Tech for the purpose of promoting Centra Tech and its

   products.

               e.     In or about August 2017, SHARMA caused Centra Tech

   to use the United States Postal Service to deliver a letter to an

   investor (“Investor-1”) located in New York, New York, thanking

   Investor-1 and advising Investor-1 of the ability to receive bonus

   CTRs.

               f.     In or about September 2017, SHARMA, CC-1 and CC-2

   caused multiple cards bearing the “Centra Tech” logo that falsely

   included the Visa and/or Bancorp logos to be sent and delivered by

   commercial       interstate   mail     carriers   to   Centra    Tech    victim

   investors in the United States and elsewhere.

                 (Title 18, United States Code, Section 371.)

                                 COUNT TWO
            (Conspiracy to Commit Wire Fraud as to Centra Tech)

         The Attorney for the United States, acting under authority

   conferred by 28 U.S.C. § 515, further charges:

         10.   The allegations contained in paragraphs 1 through 6 and

   9   of   this     Information    are    hereby    repeated,     realleged   and

   incorporated by reference, as if fully set forth herein.

         11.   From at least in or about July 2017, up to and including

   in or about April 2018, in the Southern District of New York and

   elsewhere, SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant, and

   others known and unknown, willfully and knowingly did combine,


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   conspire, confederate, and agree together and with each other to

   commit an offense against the United States, to wit, wire fraud,

   in violation of Title 18, United States Code, Section 1343.

         12.   It was a part and an object of the conspiracy that SOHRAB

   SHARMA, a/k/a “Sam Sharma,” the defendant, and others known and

   unknown, willfully and knowingly, having devised and intending to

   devise a scheme and artifice to defraud, and for obtaining money

   and    property    by    means   of    false      and    fraudulent    pretenses,

   representations, and promises, would and did transmit and cause to

   be    transmitted       by   means    of       wire,    radio,   and   television

   communication in interstate and foreign commerce, writings, signs,

   signals, pictures, and sounds for the purpose of executing such

   scheme and artifice, in violation of Title 18, United States Code,

   Section 1343.

         13.   In furtherance       of the conspiracy          and to effect its

   illegal object, SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant,

   as well as CC-1 and CC-2, in addition to others known and unknown,

   committed the overt acts listed above in paragraphs 9(a) through

   (f) of this Information, among others, in the Southern District of

   New York and elsewhere.

               (Title 18, United States Code, Section 371.)




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                                   COUNT THREE
                (Conspiracy to Commit Mail Fraud as to Centra Tech)

          The Attorney for the United States, acting under authority

   conferred by 28 U.S.C. § 515, further charges:

          14.     The allegations contained in paragraphs 1 through 6 and

   9     of     this     Information   are   hereby     repeated,   realleged   and

   incorporated by reference, as if fully set forth herein.

          15.     From at least in or about July 2017, up to and including

   in or about April 2018, in the Southern District of New York and

   elsewhere, SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant, and

   others known and unknown, willfully and knowingly did combine,

   conspire, confederate, and agree together and with each other to

   commit an offense against the United States, to wit, mail fraud,

   in violation of Title 18, United States Code, Section 1341.

          16.     It was a part and an object of the conspiracy that SOHRAB

   SHARMA, a/k/a “Sam Sharma,” the defendant, and others known and

   unknown, willfully and knowingly, having devised and intending to

   devise a scheme and artifice to defraud, and for obtaining money

   and        property    by   means   of    false    and   fraudulent   pretenses,

   representations, and promises, for the purpose of executing such

   scheme and artifice and attempting so to do, would and did place

   in a post office and authorized depository for mail matter, matters

   and things to be sent and delivered by the Postal Service, and

   deposit and cause to be deposited matters and things to be sent


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   and delivered by private and commercial interstate carriers, and

   knowingly cause to be delivered by mail and such carriers according

   to the directions thereon, and at the places at which they were

   directed    to    be    delivered   by   the   persons   to   whom   they    were

   addressed, such matters and things, in violation of Title 18,

   United States Code, Section 1341.

         17.   In furtherance      of the conspiracy        and to effect its

   illegal object, SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant,

   as well as CC-1 and CC-2, in addition to others known and unknown,

   committed the overt acts listed above in paragraphs 9(a) through

   (f) of this Information, among others, in the Southern District of

   New York and elsewhere.

               (Title 18, United States Code, Section 371.)

                              FORFEITURE ALLEGATIONS

               18.    As    a result   of committing one or more           of    the

   offenses charged in Counts One through Three of this Information,

   SOHRAB SHARMA, a/k/a “Sam Sharma,” the defendant, shall forfeit to

   the United States, pursuant to Title 18, United States Code,

   Section 981(a)(1)(C) and Title 28, United States Code, Section

   2461(c), all property, real and personal, that constitutes or is

   derived from proceeds traceable to the commission of the offenses,

   including but not limited to a sum of money in United States

   currency representing the amount of proceeds traceable to the

   commission of said offenses that SHARMA personally obtained and

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   the following specific property: (i) 91,000 Ether units, seized by

   law enforcement from a digital wallet with the public address

   Oxda6f983076725cb2899205al6e16dled60a0067a            on   or   about   May   2,

   2018, and (ii) 9,000 Ether units, seized by law enforcement from

   a       digital        wallet       with        the        public       address

   Oxda6f983076725cb2899205al6e16dled60a0067a on or about October 22,

   2018.

                          Substitute Assets Provision

         19.   If any of the above-described forfeitable property, as

   a result of any act or omission of the defendant:

         a.    cannot be located upon the exercise of due diligence;

         b.    has been transferred or sold to, or deposited with, a

         third party;

         c.    has been placed beyond the jurisdiction of the court;

         d.    has been substantially diminished in value; or

         e.    has been commingled with other property which cannot be

         divided without difficulty,

   it is the intent of the United States, pursuant to Title 21, United

   States Code, Section 853(p) and Title 28, United States Code,

   Section 2461(c), to seek forfeiture of any other property of the




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   defendant up to the value of the forfeitable property described

   above.

                (Title 18, United States Code, Section 981;
                 Title 21, United States Code, Section 853;
                Title 28, United States Code, Section 2461.)



                                        ______________________________
                                        ILAN T. GRAFF
                                        Attorney for the United States
                                        Acting Under Authority
                                        Conferred by 28 U.S.C. § 515




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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


                            UNITED STATES OF AMERICA

                                       - v. –

                                  SOHRAB SHARMA,
                               a/k/a “Sam Sharma,”

                                                Defendant.


                             SUPERSEDING INFORMATION

                               S3 18 Cr. 340 (LGS)

                                (18 U.S.C. § 371.)


                                                ILAN T. GRAFF
                              Attorney for the United States
                              Acting Under Authority
                              Conferred by 28 U.S.C. § 515
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 1      UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
 2      ------------------------------x

 3      UNITED STATES OF AMERICA,

 4                   v.                                  18 CR 340 (LGS)

 5      SOHRAB SHARMA,
        a/k/a "Sam Sharma,"
 6
                          Defendant.                     REMOTE TELECONFERENCE
 7                                                       (Plea)
        ------------------------------x
 8
                                                         New York, N.Y.
 9                                                       July 17, 2020
                                                         12:05 p.m.
10

11      Before:

12                            HON. ROBERT W. LEHRBURGER,

13                                                       Magistrate Judge

14
                                       APPEARANCES
15

16      AUDREY STRAUSS,
             Acting United States Attorney for the
17           Southern District of New York
        NEGAR TEKEEI
18      SAMSON A. ENZER
        DANIEL LOSS
19           Assistant United States Attorneys

20      GENNARO CARIGLIO, JR.
        DENIS P. KELLEHER, JR.
21      GRANT P. FONDO
        MELISSA L. BRUMER
22           Attorneys for Defendant

23      ALSO PRESENT:     BRANDON RACZ, FBI
                          KRISTIN ALLAIN, FBI
24

25


                          SOUTHERN DISTRICT REPORTERS, P.C.
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 1                 (Remote teleconference)

 2                 (Case called)

 3                 MS. TEKEEI:     Good afternoon, your Honor.

 4                 Negar Tekeei, on behalf of the United States.

 5                 And joining me are Sam Enzer and Daniel Loss, also for

 6      the United States, as well as FBI Special Agents Brandon Racz

 7      and Kristin Allain.

 8                 THE COURT:    What about for the defense?

 9                 MR. CARIGLIO:     Good afternoon, your Honor.

10                 Gennaro Cariglio, Jr., along with Denis Kelleher,

11      Grant Fondo, and Melissa Brumer, on behalf of Sam Sharma.

12                 THE COURT:    All right.     Good afternoon, all.

13                 Good afternoon, Mr. Sharma.

14                 I want to make sure that everyone can hear

15      appropriately.     And let me just ask, Ms. Tekeei, how do you

16      pronounce your name?       I'm sorry.

17                 MS. TEKEEI:     No problem.     It's Tekeei.

18                 THE COURT:    Ms. Tekeei, can you hear everybody who has

19      spoken so far?

20                 MS. TEKEEI:     Yes, your Honor.

21                 THE COURT:    And Mr. Cariglio, can you?

22                 MR. CARIGLIO:     Yes, your Honor.

23                 THE COURT:    And Mr. Sharma, can you hear counsel for

24      both the government, your own counsel, and myself?

25                 THE DEFENDANT:     Yes, your Honor.


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 1                 THE COURT:    Terrific.

 2                 And madam court reporter, can you hear everybody who

 3      has spoken?

 4                 THE COURT REPORTER:      Yes, your Honor.

 5                 THE COURT:    All right.

 6                 At any time anyone cannot hear, please speak up and we

 7      will remedy that.      Otherwise, please refrain from interrupting.

 8      And when someone speaks, please say your name for the court

 9      reporter so that she knows who is speaking.

10                 We are proceeding by telephone, which is on a public

11      line available to the public and the press, but on a

12      listen-only basis.      If anyone actually is listening, please

13      mute any device so that no noise adds to the proceedings.

14                 So as you all know, we are in the midst of the

15      COVID-19 pandemic.      And I am conducting this proceeding by

16      telephone pursuant to the authority provided by the

17      congressional act known as the CARES Act and the standing

18      orders issued by the chief judge of this Court pursuant to that

19      act.

20                 Under that act, I find that videoconferencing is not

21      reasonably available to conduct this proceeding.             The

22      facilities for videoconferencing appearances are extremely

23      limited and there is insufficient availability to allow all

24      persons who wish to use it.

25                 In addition, under the CARES Act, in the case of any


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 1      plea or sentence conducted by videoconference or telephone, the

 2      district judge must also determine whether the proceeding

 3      cannot be further delayed without serious harm to the interests

 4      of justice.     In that regard, I note that Judge Schofield has

 5      issued an order to that effect.         I am going to read most of the

 6      order into the record.       It is dated July 16, 2020, docket

 7      number 361.

 8                 It says:    Whereas, defendant Sohrab Sharma is

 9      scheduled to enter a guilty plea before The Honorable Robert W.

10      Lehrburger, United States Magistrate Judge, on July 17th, 2020.

11                 And whereas, the defendant has requested that his

12      guilty plea be taken remotely by videoconference or by

13      telephone, if videoconference is not reasonably available.

14                 And whereas, the ongoing COVID-19 pandemic

15      necessitates the proceeding take place remotely.

16                 And whereas, the CARES Act and the standing order of

17      Chief Judge Colleen McMahon allow for guilty pleas to be taken

18      by videoconference, or teleconference if video teleconferencing

19      is not reasonably available, subject to certain findings made

20      by the district judge.

21                 And whereas, the Court understands that The Honorable

22      Robert W. Lehrburger shall hear the defendant's plea by

23      telephone, because videoconference is not reasonably available.

24                 The Court hereby finds that because defendant Sohrab

25      Sharma has consented to proceeding remotely, and for the


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 1      reasons set forth in the parties' application dated July 15,

 2      2020, the plea proceeding cannot be further delayed without

 3      serious harm to the interests of justice, and may proceed

 4      remotely by telephone conference.

 5                 And further to that regard, I just want to make sure

 6      that the defendant continues to consent to proceed by telephone

 7      and is waiving his right to be physically present in court.

 8                 Counsel, have you consulted with your client about

 9      that issue?

10                 MR. CARIGLIO:     Yes, your Honor.      And we filled out all

11      the waivers and consent forms and forwarded them to the clerk

12      yesterday.

13                 THE COURT:    And I do have those forms.

14                 And I just would like to ask Mr. Sharma directly, do

15      you waive your right to be physically present in court, and

16      instead proceed by telephone with your plea?

17                 THE DEFENDANT:     Yes, your Honor, I do.

18                 THE COURT:    All right.

19                 And Mr. Cariglio, have you had sufficient time to

20      consult with your client in advance of these proceedings?

21                 MR. CARIGLIO:     Yes, your Honor.

22                 THE COURT:    All right.     Terrific.

23                 So we are here for a plea proceeding.          And let me

24      start by asking, Mr. Sharma, how do you intend to plead today

25      to Counts One, Two, and Three of the indictment?


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 1                 MR. CARIGLIO:     Judge, it's the superseding

 2      information.

 3                 THE COURT:    I'm sorry, of the superseding information.

 4                 THE DEFENDANT:     I plan to plead guilty, your Honor.

 5                 THE COURT:    All right.

 6                 So in order to do that, I'm going to ask you a number

 7      of questions and, therefore, I'm going to swear you in under

 8      oath.   I just remind you that because you are under oath, if

 9      you give false information, you could be prosecuted for

10      perjury.    Do you understand that?

11                 THE DEFENDANT:     Yes, your Honor.

12                 THE COURT:    All right.

13                 Do you swear to tell the truth, the whole truth, and

14      nothing but the truth?

15                 THE DEFENDANT:     I do, your Honor.

16                 THE COURT:    So the first thing we need to tend to is a

17      consent to proceed with your plea before a magistrate judge.

18                 I do have before me a consent to proceed before a

19      United States Magistrate Judge on a felony plea allocution that

20      has a signature for you.       This form says that you know you have

21      the right to have your plea taken by a United States District

22      Judge, but you are agreeing to have the plea taken by a United

23      States Magistrate Judge.       As a magistrate judge, I have the

24      authority to take your plea with your consent, and you will

25      still be entitled to all the same rights and protections as if


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 1      you were before a district judge.          And it will be the district

 2      judge who sentences you.

 3                 Did you sign the consent to proceed before a United

 4      States Magistrate Judge?

 5                 THE DEFENDANT:     I did, your Honor.

 6                 THE COURT:    Did you do so voluntarily?

 7                 THE DEFENDANT:     I did, your Honor.

 8                 THE COURT:    Before you signed the form, did your

 9      lawyer explain it to you?

10                 THE DEFENDANT:     Yes, he did, your Honor.

11                 THE COURT:    And do you, in fact, wish to proceed with

12      your plea before a United States Magistrate Judge?

13                 THE DEFENDANT:     I do.

14                 THE COURT:    All right.     Your consent is accepted.

15                 As we are proceeding by information, I ask, has the

16      indictment already been waived?

17                 MR. CARIGLIO:     Yes, your Honor, we filed a written

18      waiver as well.

19                 THE COURT:    All right.     Terrific.

20                 MR. CARIGLIO:     Excuse me.     We forwarded a copy of the

21      written waiver to your clerk yesterday.

22                 THE COURT:    Okay.    Let me pull it up.

23                 Okay.   I do see it.     All right.

24                 And Mr. Sharma, did you, in fact, sign a written

25      waiver of indictment?


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 1                 THE DEFENDANT:     I did, your Honor.

 2                 THE COURT:    And did you review the form with your

 3      attorney before you signed it?

 4                 THE DEFENDANT:     I did, your Honor.

 5                 THE COURT:    Do you understand that by signing that

 6      form, you're giving up your right to have your case presented

 7      to a grand jury; and that you are permitting the charges to be

 8      filed by the United States Attorney instead?

 9                 THE DEFENDANT:     Yes, your Honor, I do.

10                 THE COURT:    Have you discussed with your attorney the

11      advantages or disadvantages of waiving indictment?

12                 THE DEFENDANT:     I have, your Honor.

13                 THE COURT:    Have any threats or promises been made to

14      get you to waive indictment, aside from the plea agreement we

15      will be discussing today?

16                 THE DEFENDANT:     No, your Honor.

17                 THE COURT:    And do you, in fact, wish to give up your

18      right to be charged by a grand jury?

19                 THE DEFENDANT:     I do, your Honor.

20                 THE COURT:    All right.     Your waiver is accepted.

21                 So now I'm going to ask a number of questions to make

22      sure that you are giving your plea with a knowing and competent

23      state of mind.     So if you don't understand any question, just

24      let me know and we'll take care of that.

25                 What is your full name please?


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 1                 THE DEFENDANT:     My full name is Sam Sharma.

 2                 THE COURT:    And how old are you?

 3                 THE DEFENDANT:     Twenty-nine.

 4                 THE COURT:    And can you read and write English?

 5                 THE DEFENDANT:     Yes.

 6                 THE COURT:    And how far did you go in school?

 7                 THE DEFENDANT:     Some college.

 8                 THE COURT:    Are you currently or have you recently

 9      been under the care of a psychiatrist, psychologist, or other

10      mental health provider for any reason?

11                 THE DEFENDANT:     No, your Honor.

12                 THE COURT:    Have you ever been hospitalized for mental

13      illness, alcoholism, or drug addiction?

14                 THE DEFENDANT:     No, your Honor.

15                 THE COURT:    Do you have any condition that affects

16      your ability to see or to hear?

17                 THE DEFENDANT:     No, your Honor.

18                 THE COURT:    Do you have any condition that affects

19      your ability to think or to understand or to make judgments or

20      decisions on your own behalf?

21                 THE DEFENDANT:     No, your Honor.

22                 THE COURT:    As you sit here today, wherever you are --

23      and actually, where are you located right now?

24                 THE DEFENDANT:     I'm in my lawyer's office in --

25                 THE COURT:    Okay.    All right.


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 1                 And as you sit there, are you under the influence of

 2      any mind-altering drug or any alcohol?

 3                 THE DEFENDANT:     No, your Honor.

 4                 THE COURT:    Do you feel all right today?

 5                 THE DEFENDANT:     Just a little nervous.

 6                 THE COURT:    I understand.      And I know this is a formal

 7      proceeding and it has consequences, but I am confident you will

 8      get through it just fine.

 9                 Is your mind clear?

10                 THE DEFENDANT:     Yes, your Honor.

11                 THE COURT:    Do you understand what is happening in

12      this proceeding?

13                 THE DEFENDANT:     I do, your Honor.

14                 THE COURT:    And have you seen a copy of the

15      superseding information that contains the charges against you?

16                 THE DEFENDANT:     Yes, I have.

17                 THE COURT:    Have you read it?

18                 THE DEFENDANT:     I have, your Honor.

19                 THE COURT:    Do you understand what it says you did?

20                 THE DEFENDANT:     I do, your Honor.

21                 THE COURT:    Have you had enough time to speak with

22      your attorney about your case and about how you wish to plead?

23                 THE DEFENDANT:     I do, your Honor.

24                 THE COURT:    Has your Honor attorney explained to you

25      the consequences of pleading guilty?


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 1                 THE DEFENDANT:     Yes, he has.

 2                 THE COURT:    Are you satisfied with your attorney's

 3      representation of you?

 4                 THE DEFENDANT:     I am, your Honor.

 5                 THE COURT:    All right.

 6                 Does either counsel have any objections to or concerns

 7      about the defendant's competence to plead at this time,

 8      starting with the government?

 9                 MS. TEKEEI:     No, your Honor.

10                 THE COURT:    And for the defense?

11                 MR. CARIGLIO:     No, your Honor.

12                 THE COURT:    All right.

13                 So now I'm going to transition, Mr. Sharma, to

14      questions about certain rights that you have and that you will

15      be giving up by pleading guilty.

16                 So under the Constitution and the laws of the United

17      States, you have a right to plead not guilty to the charges

18      contained in the superseding information.

19                 Do you understand that?

20                 THE DEFENDANT:     Yes, your Honor.

21                 THE COURT:    And if you plead not guilty, you would be

22      entitled under the Constitution to a speedy and public trial by

23      a jury of those charges.       At that trial, you would be presumed

24      innocent, the government would be required to prove you guilty

25      beyond a reasonable doubt before you could be found guilty.


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 1      And you could not be convicted unless a jury of 12 people

 2      agreed unanimously that you are guilty beyond a reasonable

 3      doubt.   Do you understand that?

 4                 THE DEFENDANT:     I do, your Honor.

 5                 THE COURT:    If you decided to go to trial, and at that

 6      trial and every stage of your case, you would have the right to

 7      be represented by an attorney.         And if you could not afford

 8      one, an attorney would be appointed to represent you at the

 9      government's expense.

10                 Even if you retain private defense counsel, if you ran

11      out of money, an attorney would be appointed to continue to

12      represent you.     You would be entitled to an attorney all the

13      way through trial, and not just for a guilty plea.             So your

14      decision to plead guilty should not depend on whether you can

15      afford to hire an attorney.        Do you understand that?

16                 THE DEFENDANT:     I do, your Honor.

17                 THE COURT:    During a trial, the witnesses for the

18      prosecution would have to come to court and testify in your

19      presence, where you could see and hear them, and your lawyer

20      could cross-examine those witnesses.          And if you wanted, your

21      lawyer could offer evidence on your behalf.            You would be able

22      to use the Court's power to compel witnesses to come to court

23      to testify in your defense, even if they did not want to come.

24                 Do you understand that?

25                 THE DEFENDANT:     I do, your Honor.


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 1                 THE COURT:    At a trial, you would have the right to

 2      testify in your own defense, if you wanted to; but you would

 3      also have the right not to testify.          And if you chose not to

 4      testify, that could not be used against you in any way.              No

 5      inference or suggestion of guilt would be permitted from the

 6      fact that you did not testify.         Do you understand that?

 7                 THE DEFENDANT:     I do, your Honor.

 8                 THE COURT:    And if you are convicted at trial, you

 9      would have the right to appeal that verdict to a higher court.

10                 Do you understand that?

11                 THE DEFENDANT:     I do, your Honor.

12                 THE COURT:    As I said before, you have the right to

13      plead not guilty; even now you have the right to plead or

14      continue to plead not guilty and go to trial.            But if you do

15      plead guilty and I accept your plea, you will give up the

16      rights that I have described.

17                 If you plead guilty, there will be no trial.            All that

18      will remain to be done will be to impose a sentence.              You and

19      the government will have a chance to make arguments about what

20      sentence you should get, but there will not be any further

21      trial to determine whether you are guilty or not guilty of the

22      charges to which you pled guilty.          Do you understand that?

23                 THE DEFENDANT:     I do, your Honor.

24                 THE COURT:    Finally, if you do plead guilty, you are

25      also giving up the right not to incriminate yourself.              And I


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 1      will ask you questions about what you did in order to satisfy

 2      myself that you are actually guilty.          By pleading guilty, you

 3      will be admitting your factual as well as legal guilt.

 4                 Do you understand that?

 5                 THE DEFENDANT:     I do, your Honor.

 6                 THE COURT:    So now I am going to review with you the

 7      charges against you to which you intend to plead guilty and the

 8      consequences of doing so.

 9                 So there are three counts of the superseding

10      information.     The first one charges you with conspiring from at

11      least in or about July 2017, through in or about April 2018, to

12      commit securities fraud in connection with a scheme to raise

13      funds from investors in a company called Centra Tech through

14      the sale of unregistered securities styled in digital token

15      based on fraudulent misrepresentations and omissions, in

16      violation of Title 18, U.S.C., Section 371.

17                 Let me ask the Assistant U.S. Attorney to state the

18      elements of this charge, and then I will get to the other

19      counts.

20                 MS. TEKEEI:     Thank you, your Honor.

21                 With respect to the securities fraud conspiracy

22      charged in Count One of the information, the government would

23      have to prove beyond a reasonable doubt each of the following

24      three elements:

25                 First, the existence of the conspiracy charged in


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 1      Count One; in other words, that there was, in fact, an

 2      agreement or understanding by two or more people to commit

 3      securities fraud.

 4                 Second, that the defendant, Mr. Sharma, knowingly and

 5      willfully became a member of the conspiracy.

 6                 And third, that the defendant or another member of the

 7      conspiracy knowingly committed at least one overt act in

 8      furtherance of the conspiracy during the life of the

 9      conspiracy.

10                 To prove that a defendant committed the substantive

11      crime of securities fraud, which was the goal or object of the

12      conspiracy charged in Count One, the government would have to

13      prove the following three elements beyond a reasonable doubt:

14                 First, that in connection with the purchase or sale of

15      securities, the defendant did any one or more of the following:

16                 One, employed a device, scheme, or artifice to

17      defraud; or, two, made an untrue statement of a material fact

18      or omitted to state a material fact which made what was said

19      under the circumstances misleading; or, three, engaged in an

20      act, practice, or course of business that operated or would

21      operate as a fraud or deceit upon a purchaser or seller.

22                 The second element is that the defendant acted

23      knowingly, willfully, and with the intent to defraud, that is,

24      the intent to deceive.

25                 And the third element is that the defendant used or


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 1      caused to be used the mails or an instrumentality of interstate

 2      commerce in furtherance of the fraudulent conduct.

 3                 The term "security" is defined broadly to include not

 4      only conventional investment vehicles, such as stocks and

 5      bonds, but also less conventional investment instruments,

 6      including any so-called investment contract.

 7                 An investment contract is any contract, transaction,

 8      or scheme whereby a person makes an investment of something of

 9      value in a common enterprise, and is led to expect process from

10      the entrepreneurial or managerial efforts of others, such as

11      the promoter of the scheme.

12                 THE COURT:    Thank you.

13                 All right.    And what I'm going to do is actually I'm

14      going to explain the consequences of pleading guilty to Count

15      One, and then I will come back to Count Two and Three, which

16      are similar in many ways.

17                 All right.    So with respect to -- let me ask, how do

18      you intend to plead to Count One of the superseding

19      indictment -- information?

20                 THE DEFENDANT:     Guilty, your Honor.

21                 THE COURT:    With respect to that offense, I want you

22      to understand -- actually, all the offenses, I want you to

23      understand the maximum possible penalty that the Court may

24      impose.    "The maximum" means the most that could possibly be

25      imposed; it does not mean that is what you necessarily would


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 1      receive.    But by pleading guilty, you are exposing yourself to

 2      the possibility of receiving any combination of punishments up

 3      to the maximum I am about to describe.

 4                 Do you understand that?

 5                 THE DEFENDANT:     I do, your Honor.

 6                 THE COURT:    So the maximum term of imprisonment for

 7      pleading guilty to Count One is a term of five years, and a

 8      maximum term of supervised release of three years.

 9                 "Supervised release" means that after you are released

10      from prison, you may be subject to supervision by the probation

11      department.     If you are placed on supervised release and

12      thereafter violate any condition of that supervised release,

13      the district judge can revoke the term of supervised release

14      previously imposed and return you to prison without giving you

15      any credit for time previously served on post supervision

16      release.

17                 In addition to the restrictions on your liberty, the

18      maximum possible punishment under Count One also includes

19      financial penalties.       The maximum allowable fine is the

20      greatest of $250,000 or twice the gross pecuniary gain derived

21      from the offense, or twice the gross pecuniary loss to persons

22      other than the defendant resulting from the offense, and a $100

23      mandatory special assessment.

24                 In addition, by pleading guilty, you will also be

25      admitting to the forfeiture allegations in the information and


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 1      agree to forfeit any money or property you receive from

 2      committing the offense or that was used to commit the offense.

 3      And in the plea agreement it is specified that that includes,

 4      but is not limited to, a sum of money in United States currency

 5      representing the amount of proceeds traceable to the commission

 6      of said offenses that the defendant -- that you -- personally

 7      obtained.    And B, all right, title, and interest of yours in

 8      the 100,000 Ether units that were seized by the FBI from a

 9      digital wallet in 2018.

10                 Let me go back to Count Two.

11                 Count Two charges you with conspiring from at least in

12      or about July 2017, to in or about April 2018, with wire fraud

13      in connection with the scheme to raise funds from Centra Tech

14      investors through the sale of digital tokens based on

15      fraudulent misrepresentations and omissions.

16                 Again, I will ask the government to state the elements

17      of this claim.

18                 MS. TEKEEI:     Thank you, your Honor.

19                 With respect to the wire fraud conspiracy charged in

20      Count Two of the information, the government would have to

21      prove beyond a reasonable doubt each of the following three

22      elements:

23                 First, the existence of the conspiracy charged in

24      Count Two of the information; in other words, that there was,

25      in fact, an agreement or understanding by two or more people to


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 1      commit wire fraud.

 2                 Second, that the defendant knowingly and willfully

 3      became a member of the conspiracy.

 4                 And third, that the defendant or another member of the

 5      conspiracy knowingly committed at least one overt act in

 6      furtherance of the conspiracy during the life of the

 7      conspiracy.

 8                 To prove that the defendant committed the substantive

 9      crime of wire fraud, which was the goal or object of the

10      conspiracy charged in Count Two, the government would have to

11      prove the following elements beyond a reasonable doubt:

12                 First, the existence of a scheme or artifice to

13      defraud or obtain money or property by means of false and

14      fraudulent pretenses, representations, or promises.

15                 Second, the defendant knowingly and willfully devised

16      or participated in the scheme or artifice to defraud, with

17      knowledge of its fraudulent nature and with the specific intent

18      to defraud.

19                 And third, that in the execution of that scheme, the

20      defendant used or caused the use by others of interstate or

21      foreign wire communications.

22                 And, your Honor, this goes for both Count One, which

23      we already reviewed, Count Two, and then also Count Three, that

24      in addition to all of the elements that I'll describe with

25      respect to the counts, the government would, in order to


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 1      establish venue in the Southern District of New York, have to

 2      prove by a preponderance of the evidence that some act in

 3      furtherance of each of the conspiracy offenses in each of these

 4      three counts occurred within the Southern District of New York.

 5                 THE COURT:    All right.     Thank you.

 6                 So Count Two carries the following penalties:

 7                 It carries a maximum sentence of imprisonment of five

 8      years, a maximum term of supervised release of three years, a

 9      maximum fine of the greatest of $250,000, twice the gross

10      pecuniary gain derived from the offense, or twice the gross

11      pecuniary loss to persons other than yourself resulting from

12      the offense, and a $100 mandatory special assessment.              And I'm

13      not sure I said it earlier, Count One also carries a $100

14      mandatory special assessment.         And again, you would be pleading

15      guilty to the forfeiture allegations as I previously explained

16      them.

17                 All right.    Let's go on to Count Three.

18                 Count Three charges you with conspiring from at least

19      in or about July 2017, to in or about April 2018, to commit

20      mail fraud in connection with a scheme to raise funds from

21      Centra Tech investors through the sale of digital token, based

22      on fraudulent misrepresentations and omissions using the mail

23      or private or commercial interstate carriers.

24                 Again, I ask the government to identify the elements

25      of this charge.


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 1                 MS. TEKEEI:     Thank you, your Honor.

 2                 With respect to the mail fraud conspiracy charged in

 3      Count Three of the information, the government would have to

 4      prove beyond a reasonable doubt each of the following three

 5      elements:

 6                 First, the existence of the conspiracy charged in

 7      Count Three of the information.         In other words, that there

 8      was, in fact, an agreement or understanding by two or more

 9      people to commit mail fraud.

10                 Second, that the defendant knowingly and willfully

11      became a member of the conspiracy.

12                 And third, that the defendant or another member of the

13      conspiracy knowingly committed at least one overt act in

14      furtherance of the conspiracy during the life of the

15      conspiracy.

16                 And to prove that a defendant committed the

17      substantive crime of mail fraud, which is the goal or object of

18      the conspiracy charged in Count Three, the government would

19      have to prove the following elements beyond a reasonable doubt:

20                 First, that there existed a scheme or artifice to

21      defraud or obtain money or property by means of false or

22      fraudulent pretenses, representations, or promises.

23                 Second, that the defendant knowingly and willfully

24      executed or attempted to execute this scheme with the intent to

25      defraud.


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 1                 And third, that in executing this scheme, the

 2      defendant used or caused the use of the mails or a private or

 3      commercial interstate carrier.

 4                 And in addition, as previously noted, the government

 5      would have to prove by a preponderance of the evidence that

 6      some act in furtherance of the conspiracy occurred here within

 7      the Southern District of New York.

 8                 THE COURT:    All right.     Thank you.

 9                 Count Three carries a maximum sentence of imprisonment

10      of five years, a maximum term of supervised release of three

11      years, a maximum fine of the greatest of $250,000, twice the

12      gross pecuniary gain derived from the offense, or twice the

13      gross pecuniary loss to persons other than yourself resulting

14      from the offense.      And again, a $100 mandatory special

15      assessment.

16                 And the total maximum term of imprisonment on Counts

17      One through Three together is 15 years of imprisonment.

18                 Additionally, if you are not a citizen of the United

19      States, then your guilty plea may also have adverse

20      consequences for your ability to remain in or return to the

21      United States, including removal, deportation, denial of

22      citizenship, and denial of admission to the United States in

23      the future.     If that does happen, you will still be bound by

24      your guilty plea, that is, you will not be able to withdraw,

25      regardless of any advice you have received from your counsel or


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 1      others regarding the immigration consequences of your plea.

 2                 Do you understand?

 3                 THE DEFENDANT:     I do, your Honor.

 4                 THE COURT:    And do you understand the charges against

 5      you and the consequences of pleading guilty to them?

 6                 THE DEFENDANT:     I do, your Honor.

 7                 THE COURT:    So, as I mentioned, there is a written

 8      plea agreement in the form of a letter, and it is dated July

 9      7th, 2020.    It does appear to -- it has a signature line for

10      you.   Did you sign the plea agreement?

11                 THE DEFENDANT:     I did, your Honor.

12                 THE COURT:    Did you read it before you signed it?

13                 THE DEFENDANT:     I have, your Honor.

14                 THE COURT:    Did you discuss it -- I'm sorry.

15                 Did you read it before you signed it?

16                 THE DEFENDANT:     Yes, your Honor.

17                 THE COURT:    And did you discuss it with your attorney

18      before you signed it?

19                 THE DEFENDANT:     Yes, your Honor.

20                 THE COURT:    Did your attorney explain to you all of

21      its terms and conditions?

22                 THE DEFENDANT:     Yes, your Honor.

23                 THE COURT:    Do you understand the terms?

24                 THE DEFENDANT:     I do.

25                 THE COURT:    So the letter says that you and the


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 1      government reached agreement regarding the appropriate

 2      calculation of your sentence under a part of our law known as

 3      the sentencing guidelines; and that the appropriate sentencing

 4      range is -- well, it would normally be 168 to 210 months.               But

 5      because the statutory authorized maximum sentence for Counts

 6      One, Two, and Three is 180 months of imprisonment, which is

 7      less than the maximum applicable guidelines range, the

 8      stipulated range, stipulated guidelines range, is 168 to 180

 9      months' imprisonment.

10                 In addition, after determining your ability to pay,

11      the Court may impose a fine of anywhere in the range of $35,000

12      to $350,000.

13                 Do you understand that?

14                 THE DEFENDANT:     Yes, your Honor.

15                 THE COURT:    So under this agreement, neither you nor

16      the government is allowed to argue to a sentencing judge for a

17      calculation that is different than the one in the agreement.

18      However, the sentencing judge is not bound by the calculation

19      in the letter, and she will be free to do her own calculation,

20      which may result in a sentencing range that differs from the

21      one in this letter.      Do you understand that?

22                 THE DEFENDANT:     Yes, your Honor.

23                 THE COURT:    The sentencing range is just one of many

24      factors the judge will consider in determining your sentence.

25      And the judge has discretion to give you a prison sentence


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 1      below or above the range, anywhere up to the maximum I told you

 2      about earlier.     Do you understand that?

 3                 THE DEFENDANT:     Yes, your Honor.

 4                 THE COURT:    So long as the sentencing judge sentences

 5      you to a prison term of no longer than 180 months, you are

 6      giving up your right to challenge your sentence, whether by

 7      direct appeal, writ of habeas corpus, or otherwise.

 8                 Do you understand that?

 9                 THE DEFENDANT:     Yes, your Honor.

10                 THE COURT:    And by pleading guilty, you also will not

11      be able to appeal any fine up to the amount of $350,000 or

12      less, any lawful sentence of supervised release, any forfeiture

13      as set forth in the agreement, and to the extent if it is said

14      in the agreement, any restitution.          Do you understand?

15                 THE DEFENDANT:     Yes, your Honor.

16                 THE COURT:    Under the terms of the plea agreement,

17      even if you later learn the government withheld from your

18      counsel certain information that would have been helpful to you

19      in defending yourself at trial, you will not be able to

20      complain about that or withdraw your guilty plea on that basis.

21                 Do you understand?

22                 THE DEFENDANT:     Yes, your Honor.

23                 THE COURT:    All right.

24                 Is there any other provision of the plea agreement

25      that counsel would like for me to review with the defendant,


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 1      starting with the government?

 2                 MS. TEKEEI:     Thank you, your Honor.

 3                 The Court mentioned this earlier when reciting the

 4      forfeiture penalties.       There is a provision in the plea

 5      agreement that the Court accurately summarized regarding the

 6      defendant's agreement to forfeit a sum of money in United

 7      States currency representing the amount of proceeds traceable

 8      to the commission of the offenses; and also all right, title,

 9      and interest of the defendant in 100,000 Ether units that were

10      seized by the FBI from a digital wallet.

11                 And we would just request that the Court confirm that

12      the defendant agrees to that and is aware of the forfeiture

13      provisions as well.

14                 THE COURT:    Okay.    I do believe I mentioned it, but I

15      will say it again to make sure it is understood that it is in

16      connection with all three counts, that you, in pleading guilty,

17      would be pleading guilty to the forfeiture allegations of the

18      superseding information; and that that would require forfeiting

19      the following, but not limited to it:

20                 A, a sum of money in United States currency

21      representing the amount of proceeds traceable to the commission

22      of said offenses that you personally attained.

23                 And B, all right, title, and interest of yours in

24      100,000 Ether units that were seized by the FBI from a digital

25      wallet.


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 1                 Do you understand that by pleading guilty, you will be

 2      forfeiting all of that?

 3                 THE DEFENDANT:     Yes, your Honor.

 4                 THE COURT:    Counsel, does that satisfy your concern or

 5      is there anything else you would like me do in that regard?

 6                 MS. TEKEEI:     Thank you, your Honor.

 7                 I'll just note one additional provision.

 8                 The parties have agreed in this plea agreement -- and

 9      I draw the Court's attention to page 5, section C -- that

10      neither a downward nor an upward departure from the stipulated

11      guidelines is warranted, except that the defendant reserves the

12      right to argue that his Criminal History Category should be II,

13      on the grounds that a higher Criminal History Category would

14      substantially overrepresent the seriousness of his criminal

15      history under United States Sentencing Guidelines Section

16      4A1.3(b)(1).

17                 And the government maintains and reserves the right to

18      argue further that the defendant's Criminal History Category

19      should be III, and no downward departure pursuant to that

20      provision is warranted.

21                 In case the Court were to grant the defendant's

22      request for the departure, the Criminal History Categories

23      would then be II, and the applicable guidelines range would be

24      151 to 188 months, which would result in a guidelines range of

25      151 to 180 months' imprisonment.


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 1                 THE COURT:    All right.

 2                 Mr. Sharma, did you hear all of that?

 3                 THE DEFENDANT:     I have, your Honor.

 4                 THE COURT:    And do you understand it?

 5                 THE DEFENDANT:     I do, your Honor.

 6                 THE COURT:    All right.     And understanding that, do you

 7      still understand all the consequences of your pleading guilty

 8      to Counts One, Two, and Three?

 9                 THE DEFENDANT:     I do, your Honor.

10                 THE COURT:    All right.     So now that you've been

11      advised the charges against you, the possible -- oh, I'm sorry,

12      I didn't ask defense counsel, is there anything you would like

13      me to review with the defendant?

14                 MR. CARIGLIO:     No, your Honor.

15                 THE COURT:    All right.

16                 And apart from what is contained in the plea

17      agreement, have any promises been made to you in order to get

18      you to plead guilty?

19                 THE DEFENDANT:     No, your Honor.

20                 THE COURT:    Has anyone threatened, forced, or coerced

21      you in any way, either directly or indirectly, to get you to

22      plead guilty?

23                 THE DEFENDANT:     No, your Honor.

24                 THE COURT:    So now that you have been advised of the

25      charges against you, the possible penalties you face, and the


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 1      rights you are giving up, is it still your intention to plead

 2      guilty to Counts One, Two, and Three of the superseding

 3      information?

 4                 THE DEFENDANT:     Yes, your Honor.

 5                 THE COURT:    Is your plea voluntary and made of your

 6      own free will?

 7                 THE DEFENDANT:     Yes.    Your Honor.

 8                 THE COURT:    All right.

 9                 Mr. Sharma, with respect to Count One of the

10      superseding information, how do you plead?

11                 THE DEFENDANT:     Guilty.

12                 THE COURT:    With respect to Count Two of the

13      superseding information, how do you plead?

14                 THE DEFENDANT:     Guilty.

15                 THE COURT:    And with respect to Count Three of the

16      superseding information, how do you plead?

17                 THE DEFENDANT:     Guilty.

18                 THE COURT:    All right.

19                 Can you please now tell me in your own words what you

20      did that makes you guilty of the crimes charged in the

21      superseding information.

22                 THE DEFENDANT:     Yes, your Honor.

23                 From about July 30th, 2017, through October 5th, 2017,

24      I agreed with others to commit securities fraud, wire fraud,

25      and mail fraud in connection with a scheme to raise funds from


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 1      investors by selling them digital tokens issued by a company

 2      called Centra Tech Incorporated.         When I entered into these

 3      agreements, I caused a fictitious chief executive officer named

 4      "Michael Edwards," and a fictitious chief financial officer

 5      named "Jessica Robinson" to be created and falsely represented

 6      that these fake executives had impressive credentials in order

 7      to convince the investing public that Centra Tech had an

 8      executive team with the qualifications and experience needed to

 9      succeed.

10                 I took various actions to further the goals of these

11      agreements.     For example, in order to advance these agreements,

12      I caused LinkedIn pages for fictitious Centra Tech executives

13      named Michael Edwards and Jessica Robinson to be created,

14      listing their credentials.        During and to further the goals of

15      these agreements, emails, cell phone text messages, and United

16      States mail were sent to and from New York, New York.

17                 I knew that my participation in these conspiracies was

18      wrong and illegal.

19                 THE COURT:    All right.     And I'm not sure I heard the

20      very end of that.      Did you know that what you were doing was

21      against the law?

22                 THE DEFENDANT:     Yes, your Honor.

23                 THE COURT:    Thank you.

24                 Let me ask the government, are there any additional

25      questions you would like me to ask the defendant?


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 1                 MS. TEKEEI:     Your Honor, I apologize if I missed this,

 2      but I couldn't tell from the defendant's statement whether he

 3      discussed that during and in furtherance of the goals of the

 4      agreements, interstate email communications, interstate cell

 5      phone text message communications, and correspondence was sent

 6      interstate via United States mail and commercial interstate

 7      carriers, including to and from New York?

 8                 THE COURT:    All right.

 9                 MS. TEKEEI:     Which --

10                 THE COURT:    I'm sorry?

11                 MS. TEKEEI:     That's all, your Honor.

12                 THE COURT:    Okay.

13                 So, Mr. Sharma, in fact, in connection with the acts

14      that you just described, did they involve communicating by

15      mail, electronic communications, or -- and paper communications

16      in interstate commerce, that is, to and from New York to some

17      other location outside of New York?

18                 THE DEFENDANT:     Yes, your Honor.

19                 THE COURT:    All right.

20                 Counsel, does that satisfy your question?

21                 MS. TEKEEI:     Thank you.    It does.

22                 And one more question, your Honor:          That the

23      misrepresentations of fact about Centra Tech and its business

24      that the defendant made were material.

25                 THE COURT:    Mr. Sharma, were the misrepresentations


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 1      that you made in connection with the Centra Tech business

 2      fraud, were those misrepresentations material to persons who

 3      were purchasing or considering purchasing what Centra Tech was

 4      offering?

 5                 THE DEFENDANT:     Yes, your Honor.

 6                 THE COURT:    Counsel, does that satisfy that question?

 7                 MS. TEKEEI:     Thank you, your Honor.       It does.

 8                 And unless the Court has any further questions, at

 9      some point the government can provide the Court with additional

10      factual proffers related to what the evidence at trial would

11      show.

12                 THE COURT:    Yes.    We're almost there.

13                 Do you believe that there is a sufficient factual

14      predicate for a guilty plea?

15                 MS. TEKEEI:     Yes, your Honor.

16                 THE COURT:    And does the government represent that it

17      has sufficient evidence to establish guilt beyond a reasonable

18      doubt at trial?

19                 MS. TEKEEI:     Yes, your Honor.

20                 THE COURT:    All right.

21                 Would you like to make a proffer then.

22                 MS. TEKEEI:     Thank you, your Honor.

23                 At the outset, the government incorporates by

24      reference the facts set forth in the criminal complaint, the

25      indictment, the superseding information, and the government's


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 1      motions in limine that were filed in this case.

 2                 If this case proceeded to trial, the government would

 3      offer witness testimony, documentary proof, and other evidence

 4      establishing the facts set forth in those materials; and that

 5      those facts would prove beyond a reasonable doubt that the

 6      defendant is guilty of the charged conspiracy offenses in

 7      Counts One, Two, and Three of the superseding information; and

 8      would establish venue in the Southern District of New York by a

 9      preponderance.

10                 More specifically, the government proffers that if

11      this case proceeded to trial, the government would offer

12      witness testimony, documents, and other evidence establishing

13      that during and as part of the charged securities, wire, and

14      mail fraud conspiracies, Mr. Sharma, a leader in the

15      conspiracy, and his co-conspirators, disseminated and caused

16      the dissemination of fraudulent marketing materials and

17      information to investors to induce them to buy digital tokens

18      issued by Centra Tech as part of fundraising initiatives that

19      included an initial coin offering or ICO.

20                 Also, that in these fraudulent marketing materials,

21      Mr. Sharma and his co-conspirators deliberately made materially

22      false and misleading misrepresentations and omissions, claiming

23      that Centra Tech had critical business relationships that did

24      not exist; that Centra Tech had qualified senior executives who

25      did not exist; and that Centra Tech had critical money


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 1      transmitter licenses in a number of states that it did not

 2      actually have.

 3                 In addition, that based in part on the representations

 4      of Mr. Sharma and his co-conspirators in these marketing

 5      materials and other information disseminated to investors, the

 6      digital tokens that they sold to Centra Tech investors

 7      qualified as investment contracts and, therefore, as securities

 8      under the federal securities laws.          Those representations are

 9      described in greater detail in the charging documents and in

10      the in limine motions that the government incorporated by

11      reference.

12                 With respect to the evidence that the government would

13      offer at trial, that would also include, among other proof, the

14      testimony of various witnesses who used to be executives or

15      employees of Centra Tech, who would collectively establish the

16      existence of the charged securities, wire, and mail fraud

17      conspiracies that Mr. Sharma knowingly and willfully joined and

18      was a leader of.      And that various members of these

19      conspiracies committed overt acts during and in furtherance of

20      the conspiracy, including overt acts here in the Southern

21      District of New York.

22                 For example, this would include the testimony of a

23      cooperating witness who was a co-conspirator of Mr. Sharma in

24      the charged conspiracy.       This cooperating witness would testify

25      to facts establishing, among other things, and in sum and


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 1      substance:

 2                 One, that the cofounders of Centra Tech, including

 3      Mr. Sharma and the cooperating witness, conspired to commit

 4      securities fraud, wire fraud, and mail fraud in connection with

 5      a scheme to defraud investors into buying digital tokens issued

 6      by Centra Tech.

 7                 That as part of these conspiracies, the members of the

 8      conspiracies, including Mr. Sharma and the cooperating witness,

 9      deliberately made materially false and misleading

10      representations and omissions to induce Centra Tech investors

11      to buy the digital tokens, including false claims that Centra

12      Tech had critical business relationships that didn't exist,

13      that Centra Tech had qualified senior executives who did not

14      exist, and that Centra Tech had critical money transmitter

15      licenses in a number of states that it did not actually have.

16                 Also, this witness would testify that Mr. Sharma was a

17      willing and knowing participant in these conspiracies; and that

18      during and in furtherance of the conspiracies, cell phone text

19      message communications were sent to and from the Southern

20      District of New York from Florida by various members of the

21      conspiracy.

22                 The government's proof at trial would also include

23      documents containing fraudulent misrepresentations that

24      Mr. Sharma and his co-conspirators disseminated via the

25      internet and other means to investors as part of the


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 1      conspiracy, including fraudulent white papers and recordings of

 2      interviews in which a member of the conspiracy and Mr. Sharma

 3      made fraudulent misrepresentations to solicit investors to buy

 4      the digital tokens.

 5                 The government's proof would also include witness

 6      testimony and documents establishing the falsity of those

 7      fraudulent misrepresentations.         The government would also offer

 8      testimony of victim investors and supporting documents that

 9      would establish, among other things, facts showing that various

10      victim investors provided funds to Centra Tech to buy digital

11      tokens issued by Centra Tech based on the fraudulent

12      misrepresentations that Mr. Sharma and his co-conspirators

13      disseminated, and facts establishing the materiality of those

14      fraudulent misrepresentations.

15                 The government's proof would also include

16      contemporaneous text messages and emails exchanged between and

17      among Mr. Sharma and his co-conspirators during the charged

18      conspiracy, establishing that they acted knowingly, willfully,

19      and with the intent to defraud Centra Tech investors.

20                 The government's proof would also include witness

21      testimony and documents showing that the digital tokens

22      Mr. Sharma and his co-conspirators sold to Centra Tech

23      investors qualified as investment contracts and, therefore, as

24      securities under the federal securities laws.

25                 The government's proof would also include testimony


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 1      and documentary records that would establish that during and in

 2      furtherance of the conspiracy, Mr. Sharma caused the use of the

 3      United States Postal Service and commercial interstate mail

 4      carriers to send materials, including letters and cards, that

 5      falsely bore the Centra Tech logo with the Visa and Bancorp

 6      logos, to be sent and delivered to Centra Tech victims,

 7      including, with respect to the mail, at least one victim

 8      located in New York, New York.

 9                 The government's proof would also include witness

10      testimony, documents, and other evidence demonstrating that

11      Mr. Sharma engaged in obstructive conduct with respect to an

12      investigation being conducted by the United States Securities

13      and Exchange Commission relating to Centra Tech and its efforts

14      to raise funds from investors through fraud, including by

15      causing Centra Tech to relay false representations to the SEC

16      concerning alleged measures that Centra Tech had supposedly

17      taken to prevent the dissipation of investor assets in Centra

18      Tech's possession, that Centra Tech, through the efforts of

19      Mr. Sharma and his co-conspirators, had raised from its

20      investors through fraud.

21                 In addition, the government's proof would include

22      witness testimony, documents, and other evidence showing that

23      Mr. Sharma and his co-conspirators used electronic

24      communications to trade the digital tokens on a cryptocurrency

25      exchange based in the Southern District of New York, during and


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 1      in furtherance of the charged conspiracies.

 2                 This is not all of the proof that the government would

 3      offer at trial against the defendant, but just a summary of

 4      some of that proof.      And we believe that with these proffered

 5      facts and as we have incorporated by reference, the pleadings

 6      and the government's motions in limine, and the facts set forth

 7      therein, the allocution -- Mr. Sharma's allocution is

 8      sufficient.

 9                 THE COURT:    All right.     Thank you.

10                 Defense counsel, are there any additional questions

11      you would like me to ask the defendant?

12                 MR. CARIGLIO:     No additional questions, your Honor.

13                 THE COURT:    Do you believe there is a sufficient

14      factual predicate for a guilty plea?

15                 MR. CARIGLIO:     Yes, your Honor.

16                 THE COURT:    Do you know of any defense that would

17      prevail at trial or other reason why your client should not be

18      permitted to plead guilty?

19                 MR. CARIGLIO:     Judge, while there are potential

20      defenses at trial, we believe it's in our client's best

21      interest to plead guilty.

22                 THE COURT:    Mr. Sharma, on the basis of your responses

23      to my questions, I find that you are competent to enter an

24      informed guilty plea, and that there is a factual basis for it.

25      I'm satisfied that you understand your rights; that you are


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 1      aware of the consequences of your plea, including the sentence

 2      that may be imposed; that you are voluntarily pleading guilty;

 3      and that you have admitted that you are guilty as charged in

 4      Counts One, Two, and Three of the superseding information.

 5                 For these reasons, I accept your guilty plea and

 6      recommend the district judge do the same.

 7                 All right.    I assume the government will order a copy

 8      of the transcript and submit it, together with any additional

 9      paperwork, so that the judge, district judge, may act on my

10      recommendation.

11                 Has the district judge set a sentencing date?

12                 MS. TEKEEI:     Not yet, your Honor.

13                 The government has, in fact, ordered a copy of the

14      transcript.     We intend to submit it, along with the

15      plea-related materials, to Judge Schofield as soon as we

16      receive it.     And in that request, we will request that Judge

17      Schofield set a sentencing date.         None has been set just yet.

18                 THE COURT:    All right.     So for purposes of today, I'll

19      just set a control date of 90 days.          Is that acceptable?

20                 MR. CARIGLIO:     Yes, your Honor.

21                 MS. TEKEEI:     Yes, your Honor.

22                 THE COURT:    Good.

23                 All right.    I direct that the presentence report be

24      prepared.

25                 Will the government be able to deliver the case


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 1      summary for purposes of the presentence report within 14 days?

 2                 MS. TEKEEI:     Yes, your Honor, we will.

 3                 THE COURT:    And will defense counsel be available with

 4      the defendant to be interviewed by the probation department

 5      within 14 days?

 6                 MR. CARIGLIO:     Yes, your Honor.

 7                 THE COURT:    All right.     And what are we doing with

 8      respect to detention or release until sentencing?

 9                 MS. TEKEEI:     No changes are being made at the moment,

10      your Honor.

11                 I do have one clarifying question, whenever the Court

12      is ready.

13                 THE COURT:    All right.

14                 Defense counsel, is there any objection to

15      continuation of the current conditions of release?

16                 MR. CARIGLIO:     No, your Honor.

17                 THE COURT:    All right.

18                 Was the clarification you were seeking to make in

19      connection with the release or something else?

20                 MS. TEKEEI:     Something else, your Honor, with respect

21      to a question that the Court asked defense counsel earlier.

22                 THE COURT:    All right.

23                 Yes, why don't you ask that.        Go ahead.

24                 MS. TEKEEI:     Thank you, your Honor.

25                 The Court asked Mr. Cariglio if he was aware of any


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 1      defenses that would prevail at trial.          I believe I heard

 2      Mr. Cariglio to say he was aware of defenses.            He did not

 3      indicate whether they would prevail.          And I just wanted to make

 4      sure that we were under -- that the record was clear that

 5      Mr. Cariglio does not believe any of those defenses would

 6      prevail, since the Court asked that particular question.

 7                 THE COURT:    All right.

 8                 Mr. Cariglio, I understand that you believe there are

 9      defenses that certainly could be asserted.            Do you think there

10      are any that would prevail if the case went to trial?

11                 MR. CARIGLIO:     Look, Judge, I mean, you never know

12      what a jury is going to do.        I mean, we have potential defenses

13      we were going to assert.       But, overall, we believe it's in our

14      client's best interest to plead guilty, which is why he's

15      pleading guilty.      I mean, one could never say what a jury is

16      going to do.

17                 THE COURT:    This is true.

18                 I'm wondering -- the government is right, that I did

19      ask about "will prevail."        But does the government think it is

20      insufficient for the defendant -- the defense to say that they

21      don't know one way or the other, but that it is in the best

22      interest of their client to plead guilty?

23                 MS. TEKEEI:     Your Honor, we don't think it's

24      sufficient for the defense to say, We don't know one way or the

25      other.   The record should be clear that they are aware of no


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 1      defenses that would prevail at trial, whether or not the

 2      interest -- it is in their client's best interest to plead.

 3                 MR. CARIGLIO:     Judge, I've never -- I've practiced in

 4      many different districts.        I've never had that question asked.

 5      The question usually that -- that is asked is whether or not

 6      we've reviewed all the discovery with our clients, whether or

 7      not we've reviewed all potential defenses with our clients, and

 8      whether we believe it's in our client's best interest to plead

 9      guilty.

10                 I mean, what the government is asking for is

11      speculation on what a jury may do after trial.            And clearly we

12      do not want to run that risk.         And we believe it's in

13      Mr. Sharma's best interest to plead guilty.            He wants to plead

14      guilty.    But I can't say with 100 percent certainty that we

15      would not have won had we decided to go to trial.

16                 THE COURT:    The question as I formulated it is the way

17      we do it in this district.        And I have not had someone object

18      to it before.     And I understand your point that you can't be

19      sure about predicting the future.

20                 But I'm going to ask it this way:          Do you know of any

21      defense that you think would be likely to prevail at trial?

22                 MR. CARIGLIO:     I mean, I sort of have the same

23      objection to that question.        But I believe that the government

24      has presented a sufficient case that would get the case to a

25      jury, and that my client has sufficiently allocuted the


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 1      elements to plead guilty.        I mean, he's admitted to the

 2      elements to plead guilty.        Your Honor has gone over the

 3      constitutional rights and the penalties.           I think that the plea

 4      is more than sufficient.

 5                 As far as likely or not likely, I mean, it's really

 6      asking me to speculate.       I guess I could speculate that it's

 7      likely that the government would prevail, given the fact that

 8      they prevail on most of their cases.          I mean, I don't know what

 9      to say beyond that.

10                 MS. TEKEEI:     Your Honor, if I may add, the Court is

11      correct this is a question that is regularly always asked of

12      defendants in this district.        It was asked of Mr. Sharma's

13      co-conspirators, who also both pled guilty.

14                 The government has proffered facts, that it would

15      prove beyond a reasonable doubt each of the elements in the

16      charges in Counts One, Two, and Three.           We understand that, as

17      in many cases, the defendants would like to make or may make

18      certain arguments to a jury.

19                 I think the question for Mr. Cariglio, as the Court

20      has phrased it, is would any of those arguments or defenses

21      prevail at trial.      And I think the clear answer to that, from

22      the government's perspective, is no, because we would prove, as

23      we had proffered through our facts, that the defendant is

24      guilty of each of the crimes that are charged.

25                 It is a common question.        It is a standard question


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 1      that is asked in this district.         And we think that the answer

 2      to that needs to be clear on the record.

 3                 THE COURT:    Mr. Cariglio?      I don't see -- understand

 4      the problem with answering that question.           You can say -- it is

 5      perfectly fine if you want to say no one can predict the

 6      future.    But the goal here is that the government has

 7      demonstrated that they can prove beyond a reasonable doubt

 8      guilt, and that is why we are here.

 9                 So with making a qualification that no one can predict

10      the future, do you think you can answer the question saying

11      that you do not know of any defense that would be likely to

12      prevail?

13                 MR. CARIGLIO:     Judge, I can say that I believe that

14      the government likely would prevail, but no one can predict the

15      future.    And there's always a chance a defendant could be found

16      not guilty at trial, which I think is a fair statement.

17                 I certainly don't want to stand in the way of my

18      client pleading guilty.       He wants to plead guilty.        He's

19      admitted his guilt.      And I can say as an officer of the Court

20      that it's likely that the government would prevail, with that,

21      you know, proviso about no one can predict the future.

22                 THE COURT:    All right.     I'm satisfied with that.

23                 Because we are going to continue conditions of

24      release, I do need to remind Mr. Sharma that those conditions

25      continue; and a violation of those conditions can have serious


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 1      consequences, including revocation of bail and prosecution for

 2      bail jumping.     Do you understand that?

 3                 THE DEFENDANT:     I do, your Honor.

 4                 THE COURT:    Fine.

 5                 From the government, anything further?

 6                 MS. TEKEEI:     No, your Honor.       Nothing further from the

 7      government.

 8                 THE COURT:    From the defense, anything further?

 9                 MR. CARIGLIO:     No, your Honor.

10                 Thank you very much for allowing us to appear

11      telephonically.

12                 THE COURT:    Oh, of course.        And it is in everyone's

13      best interest to do so.

14                 And I wish everyone good health and good luck.

15                 And Mr. Sharma, I wish you well.          And you will get

16      through it.

17                 THE DEFENDANT:     Thank you.

18                 THE COURT:    All right.       We are adjourned.

19                 MS. TEKEEI:     Thank you, your Honor.

20                                       *    *    *

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